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Exhibit H - Attorney-Client Privileged Communication
(available for in camera review at the discretion of the Court)




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